15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 1 of 9



                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

  IN RE:                                             §
  PRIMERA ENERGY, LLC,                               §           CHAPTER 11 CASE
         DEBTOR                                      §
                                                     §           CASE NO. 15-51396-cag
                                                     §

    MOTION OF FREDERICK PATEK, ET AL. TO APPOINT CHAPTER 11 TRUSTEE

  TO THE HONORABLE CRAIG A. GARGOTTA,
  UNITED STATES BANKRUPTCY JUDGE:

           NOW COME Frederick Patek, Geraldine Patek, Jim Gregory, Cal Curtner, Lisa Simpson,

  Jasper Campise, Karen Smith, William Crawford, Mike Covington, Marc Keese, Mike

  Mcpherson, Ed Mcpherson, Wesley Crow, Dieter Jansen, Quackenbush Petroleum, James

  Reiley, Betty Reiley, Rick Reiley, Greg Shilts, Jana Shilts, Vincent J. Gillette, Marjorie A.

  Gillette, Thomas J. Gillette, Edward A. Gillette, Sharon Walls And Buddy Walls and On Behalf

  of All Other Similarly Situated Investors Of Defendants' "Screaming Eagle", "Montague Legacy"

  And "Buda Well" Investments (collectively referred to as “Investors”), seeking the appointment

  of a Chapter 11 Trustee for Primera Energy, LLC ("Primera" or "Debtor") and state:

                                    I.   JURISDICTION AND VENUE

           1.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334.

  This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this Court pursuant to 28

  U.S.C. §§ 1408 and 1409.

           2.       The statutory predicate for relief is section 1104 of the Bankruptcy Code, 11

  U.S.C. § 101 et seq.




  L & B 00103/0001/L0984537.DOCX/                    1
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 2 of 9



                         II.      DOCUMENTARY SUPPORT FOR THIS MOTION

  3.         Attached herewith are the Plaintiffs’ Verified First Amended Petition, Applications for

  Appointment of Receiver, Appointment of Auditor, Temporary Restraining Order, Temporary

  and Permanent Injunctions filed in Frederick Patek, et al. v. Brian K. Alfaro, et al., Cause No.

            2015-CI-06991 (288th Judicial District, District Court, Bexar County, Texas) 1 (the

  “Verified Petition”), and the transcript of the Bexar County District Court’s June 2, 2015 ruling

  granting the application to appoint a receiver, the Affidavit of Michael Perkins, the FINRA

  Default Decision entered against Defendant Brian K. Alfaro, and the order of the Texas

  Securities Board dated March 25, 2011. Movants expect to provide exhibits and testimony at

  any hearing on this Motion.

                                       III.     FACTUAL BACKGROUND

  A.              The Bexar County Lawsuit

             4.       As set forth in the Verified Petition the Investors invested in oil and gas

  investments related to the “Montague Legacy”, “Screaming Eagle”, and “Buda Well”

  projects operated by Primera Energy, LLC (“Debtor”) and related individuals and/or

  entities, including Brian K. Alfaro, Alfaro Oil And Gas, LLC., and Alfaro Energy, LLC

  (together with Debtor, the “Bexar County Defendants”). A true and correct copy of the

  Verified Petition is attached hereto as Exhibit A.

             5.       Defendant Alfaro entered the securities industry in October 1999 and obtained

  Series 7, 39, and 63 licenses. Throughout 2011 and 2012, he was sanctioned by the Financial

  Industry Regulatory Authority (“FINRA”) for fraud and misuse of company funds. He was

  eventually barred from FINRA membership and also barred from associating with any member

  firm for violations of the Securities Exchange Act of 1934, National Association of Securities
  1
      That lawsuit shall be referred to as the “Bexar County Suit”).

  L & B 00103/0001/L0984537.DOCX/                            2
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 3 of 9



  Dealer (“NASD”) Rules, and FINRA rules, including:             selling unregistered securities in

  violations of the federal Securities Act; making material misrepresentations in connection with

  the sale of securities; misusing customer funds; failing to accurately report; failed to supervise,

  establish, and maintain supervisory controls; and willfully failing to maintain books and records.

  A true and correct copy of FINRA’s Default Decision is attached hereto as Exhibit B.

           6.       Additionally, on March 25, 2011, the Texas Securities Board found Defendant

  Alfaro and his associated entities (including Defendant Alfaro Oil & Gas) liable for fraud in the

  connection of sales of securities in oil and gas projects. A true and correct copy of the order of

  the Texas Securities Board is attached hereto as Exhibit C.

           7.       According to the allegations in the Verified Petition, the sanctions imposed on

  Alfaro by FINRA did not deter him from further misconduct. Following the same business

  practices, Alfaro and the other Bexar County Defendants solicited investments in three Eagle For

  and Barnett Shale projects known as the “Montague Legacy”, “Screaming Eagle”, and

  “Buda Well.” Upon information and belief, the Investors invested more than $40 million

  in the Montague Legacy and Screaming Eagle projects. The Bexar County Defendants,

  including the Debtor, obtained those investments by fraudulent means, and then misused

  the client funds.

           8.       The Bexar County Suit alleges causes of action for (a) common law fraud, (b)

  fraud in a real estate transaction, (c) negligent misrepresentation, (d) violation of the Texas

  Deceptive Trade Practices Act, (e) breach of fiduciary duty, (f) violations of the Texas Securities

  Act, and (g) conversion. The Bexar County Suit seeks injunctive relief, including without

  limitation, the appointment of a receiver.




  L & B 00103/0001/L0984537.DOCX/                  3
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 4 of 9



           9.       On June 2, 2015, the Bexar County District Court ordered the appointment of a

  Receiver. The Bexar County District Court also ordered the entry of a permanent injunction, to

  remain in place until the receiver was formally appointed, prohibiting the Bexar County

  Defendants from withdrawing any money from their bank accounts or making payments from

  those accounts. A true and correct copy of the transcript of the Bexar County District Court’s

  oral ruling is attached hereto as Exhibit D.

           10.      On June 3, 2015, the Debtor filed the instant Bankruptcy Case, automatically

  staying the Bexar County Suit pursuant to section 362 of the Bankruptcy Court.

           11.      The Bankruptcy Petition was filed without schedules, but the Investors believe

  that the claims in the Bexar County Suit represent the primary obligation of the Debtor.

                                    IV.    ARGUMENT AND AUTHORITIES
           12.      The Investors contend that the Debtor’s current management is incapable of

  administering the Debtor’s bankruptcy estate in accordance with the fiduciary duties of a debtor-

  in-possession, such that the appointment of a Chapter 11 Trustee is not only warranted, but

  imperative.

           13.      Section 1104 of the Bankruptcy Code provides that

                    (a) At any time after the commencement of the case but before
                    confirmation of a plan, on request of a party in interest or the United
                    States trustee, and after notice and a hearing, the court shall order the
                    appointment of a trustee—

                             (1) for cause, including fraud, dishonesty, incompetence, or
                             gross mismanagement of the affairs of the debtor by current
                             management, either before or after the commencement of the
                             case, or similar cause, but not including the number of
                             holders of securities of the debtor or the amount of assets or
                             liabilities of the debtor; or

                             (2) if such appointment is in the interests of creditors, any
                             equity security holders, and other interests of the estate,


  L & B 00103/0001/L0984537.DOCX/                     4
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 5 of 9



                             without regard to the number of holders of securities of the
                             debtor or the amount of assets or liabilities of the debtor.

           14.      The Investors have met their burden of proof under both subsections of 1104(a).

           A. There Is Sufficient “Cause” To Appoint A Chapter 11 Trustee.

           15.      There is ample showing that the Debtor’s management has committed fraud and

  otherwise demonstrated a lack of honesty and trustworthiness in the conduct of the Debtor’s

  business and/or related businesses. The Debtor’s management and related entities has been

  sanctioned for fraud and other dishonest conduct by regulatory agencies and the State of Texas.

  As the Bexar County District Court noted in its oral ruling on June 2, 2015, there is serious

  doubt that the Debtor’s current management can make reasonable business decisions. Thus,

  there is sufficient “cause” to appoint a Chapter 11 Trustee.

           16.      Additionally, in order to have a receiver appointed under section 64.001(b) of the

  Texas Civil Practice and Remedies Code, the moving party must have a probable interest in or

  right to the property or fund, and the property or fund must be in danger of being lost, removed,

  or materially injured. Pursuant to the Bexar County District Court’s oral ruling ordering the

  appointment of a receiver, the Investors met that burden. The Investors respectfully suggest that

  the Bexar County District Court’s determination that the property or fund (which is now part of

  the bankruptcy estate) was in danger of being, lost, removed, or materially injured establishes

  “cause” under 1104(a)(2) because it shows the fraud or dishonesty of the Debtor’s current

  management.

           17.      If cause exists for the appointment of a Chapter 11 Trustee under subsection

  (a)(1), such appointment is mandatory. See In re V. Savino Oil & Heating Co., 99 B.R. 518, 525

  (Bankr. E.D.N.Y. 1989) (once the court has found that cause exists under section 1104(a)(1);

  there is no discretion; an independent trustee must be appointed).




  L & B 00103/0001/L0984537.DOCX/                    5
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 6 of 9




           B. Appointing A Chapter 11 Trustee Is In The Best Interest Of The Creditors.

           18.      Section 1104(a)(2) provides for discretionary appointment of a Chapter 11

  Trustee. See In re Deena Packaging Industries, Inc., 29 B.R. 705, 706 (Bankr. S.D.N.Y. 1983)

  (appointing a trustee to protect the interests of creditors, entails equitable considerations through

  which the court may exercise its discretionary powers).

           19.      It is in the best interest of the creditors and the Debtor’s estate to appoint a

  Chapter 11 Trustee. Given the history of the Debtor’s current management, it is likely that the

  estate has substantial claims against the Debtor’s current management and affiliated companies

  that are also owned, managed, or operated by the Debtor’s current management. See Affidavit

  of Michael D. Perkins, CPA, CFP, a true and correct copy of which is attached hereto as

  Exhibit E. A Chapter 11 Trustee is far more likely to pursue those claims than the Debtor-in-

  possession. Thus, the second prong of section 1104(a)(2) is satisfied.

           C. Section 1104(a)(3) Also Provides Grounds For Appointing A Chapter 11
              Trustee
           20.      Section 1104 (a)(3) provides:

                    At any time after the commencement of the case but before
                    confirmation of a plan, on request of a party in interest or the
                    United States trustee, and after notice and a hearing, the court
                    shall order the appointment of a trustee-- . .(3) if grounds exist to
                    convert or dismiss the case under section 1112 [11 USCS §
                    1112], but the court determines that the appointment of a trustee
                    or an examiner is in the best interests of creditors and the estate.

           21.      Among the grounds for "cause" to convert or dismiss that could be used in this

  case as a basis for appointment of a Chapter 11 trustee is Gross mismanagement of the estate [11

  U.S.C. § 1112(b)(4)(B)]. The facts set forth above and in the attached exhibits show that the

  Debtor’s current management is not inclined or not capable of managing the Debtor’s assets for

  the benefit of the creditors.



  L & B 00103/0001/L0984537.DOCX/                    6
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 7 of 9




           D. The Investors Propose Mr. Lamont Jefferson As Chapter 11 Trustee

           22.      The Investors propose that Mr. Lamont Jefferson be appointed as Chapter 11

   Trustee. Mr. Jefferson was appointed as the Receiver in the Bexar County Suit. See Order

   Appointing Receiver, a true and correct copy of which is attached hereto as Exhibit F.

           23.      Mr. Jefferson is a partner in the San Antonio office of Haynes & Boone and is

   well-known for his expertise in complex commercial litigation and oil and gas law. In 2014, he

   was named by Best Lawyers as a "2014 Lawyer of the Year" in Appellate Practice, Bet-the-

   Company Litigation, Commercial Litigation, and Litigation - Trusts and Estates. Thus, Mr.

   Jefferson’s professional experience and acumen make him ideally suited to deal with the

   complex issues that are likely to arise in this case. Additionally, Haynes and Boone has the

   capacity to support a case of this magnitude.

           24.      The Investors contacted several other attorneys in San Antonio with experience

   and reputations similar to Mr. Jefferson’s to assess whether they could be appointed as the state

   court receiver, but those attorneys or firms had irreconcilable conflicts.

           25.      Based on the Investors’ knowledge of Mr. Jefferson and Haynes and Boone, as

   well as their investigation into alternatives, the Investors respectfully suggest to the Court and

   the United States Trustee that Mr. Jefferson is the best candidate to serve as Chapter 11 Trustee

   in this case.

           WHEREFORE, PREMISES CONSIDERED, the Investors pray that this Court order the

  Appointment of Chapter 11 Trustee, and for such other relief as may be just and proper.

  Dated: June 4, 2015.




  L & B 00103/0001/L0984537.DOCX/                   7
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 8 of 9



                                          RESPECTFULLY SUBMITTED,

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                                    By:   /s/ David S. Gragg
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                                          Simpson, Jasper Campise, Karen Smith, William
                                          Crawford, Mike Covington, Marc Keese, Mike
                                          Mcpherson, Ed Mcpherson, Wesley Crow, Dieter
                                          Jansen, Quackenbush Petroleum, James Reiley,
                                          Betty Reiley, Rick Reiley, Greg Shilts, Jana Shilts,
                                          Vincent J. Gillette, Marjorie A. Gillette, Thomas J.
                                          Gillette, Edward A. Gillette, Sharon Walls And
                                          Buddy Walls and On Behalf Of All Other Similarly
                                          Situated Investors Of Defendants' "Screaming
                                          Eagle", "Montague Legacy" And "Buda Well"
                                          Investments




  L & B 00103/0001/L0984537.DOCX/            8
15-51396-cag Doc#4 Filed 06/04/15 Entered 06/04/15 16:04:18 Main Document Pg 9 of 9



                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document
  was electronically transmitted to the Clerk of the Court using the ECF System for filing and
  transmitted electronically to all ECF participants registered to receive electronic notice in the
  bankruptcy proceeding and on the parties below and on the attached service list via U.S. regular
  mail, postage prepaid on this 4th day of June, 2015.

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  Primera Energy, LLC
  21022 Gathering Oak #2101
  San Antonio, TX 78260

  Debtor’s Attorney
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  United States Trustee
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                                                      /s/ David S. Gragg
                                                      David S. Gragg




  L & B 00103/0001/L0984537.DOCX/                9
